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                      UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF TEXAS
                           MARSHALL DIVISION

 WI-LAN, INC.                         )
                                      )
        Plaintiff,                    )   CIVIL ACTION NO. 2:07-CV-473
 v.                                   )
                                      )
 ACER, INC., et al.                   )       CONSOLIDATED THROUGH
                                      )          MARKMAN WITH:
        Defendant;                    )
                                      )
                                      )   CIVIL ACTION NO. 2:07-CV-474
 WI-LAN, INC.                         )
                                      )   HON. T. JOHN WARD
        Plaintiff,                    )
 v.                                   )   JURY
                                      )
 WESTELL TECHNOLOGIES, INC., et al.   )
                                      )
        Defendant.                    )

                                      )
 WI-LAN, INC.                         )
                                      ) CIVIL ACTION NO. 2:08-CV-247
        Plaintiff,                    )
 v.                                   ) HON. T. JOHN WARD
                                      )
 RESEARCH IN MOTION                   ) JURY
 CORPORATION, et al.                  )
                                      )
        Defendant;                    )




            DEFENDANTS’ RESPONSIVE CLAIM CONSTRUCTION BRIEF
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INTRODUCTION

           The claim construction issues for the Court’s resolution arise from a key difference

between how Defendants 1 approach claim construction, on the one hand, and how Plaintiff

Wi-LAN approaches it, on the other. Defendants’ constructions derive from the intrinsic claim

language and specification for U.S. Patent No. 5,282,222 (the “’222 patent”) and RE37,802 (the

“’802 patent”). Plaintiff, by contrast, relies on voluminous expert declarations on nearly every

claim term to change the claim language and intrinsic record, an approach the Federal Circuit

specifically condemns. See, e.g., Phillips v. AWH Corp., 415 F.3d 1303 (Fed. Cir. 2005).

           Plaintiff relies so heavily on extrinsic expert testimony that it avoids any meaningful

overview of how the ’222 and ’802 patents describe the claimed inventions. Plaintiff also avoids

key passages in the specification and does not even mention the critical documents in the

intrinsic evidence defining the very terms in dispute. Accordingly, in this brief, Defendants

begin by providing the Court with an overview – rooted in the intrinsic record – of what the

patents actually describe and claim as their alleged inventions. Defendants then provide their

proposed constructions, which comport with the specific, detailed intrinsic evidence. 2




1   Defendants include 2Wire, Inc., Acer America Corporation, Apple Inc., Atheros Communications, Inc., Belkin
    International, Inc., Broadcom Corporation, D-Link Systems, Inc., Dell, Inc., Gateway, Inc., Hewlett-Packard
    Company, Intel Corporation, Marvell Semiconductor, Inc., Lenovo (United States) Inc., Netgear, Inc., Sony
    Electronics, Inc., Sony Computer Entertainment America, Inc., Toshiba America Information Systems, Westell
    Technologies, Inc., Motorola, Inc., UTStarcom, Inc., LG Electronics Mobilecomm U.S.A., Inc., and Personal
    Communications Devices, LLC (collectively “Defendants”).
2   Attached as Exhibit 1 is a claim construction comparison chart with the parties’ respective proposed constructions
    for the terms in dispute. Additionally, the chart provides cross-reference information to the parties’ P.R. 4-3 claim
    construction charts as well as the pages in the parties’ briefs where the arguments on those constructions may be
    found. As reflected in Exhibit 1, to streamline the claim construction process for the Court, Defendants have
    grouped claim terms that present similar issues. Although Defendants provide constructions herein for the
    disputed terms, Defendants reserve all rights to assert any defenses under 35 U.S.C. § 112.
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I.         OVERVIEW OF THE ’222 PATENT

           At the heart of the ’222 patent are four core features which the patent applicants

emphasized are critical to the alleged invention: (1) a technique referred to in the patent as

“wideband OFDM,” which the applicants distinguished from prior art OFDM techniques; (2) the

use of a special type of modulation, called “differential” modulation; (3) a specialized channel

estimator designed to work with differential modulation; and (4) a patented transceiver that is

smaller, more portable, and consumes less power than prior art transceivers because it omits

several key, prior art components.

           A.      The ’222 Patent’s Wideband OFDM Technique

           The central aspect of the ’222 patent’s alleged invention is use of a technique referred to

in the patent as wideband OFDM. According to the ’222 patent, traditional OFDM techniques

for transmitting data – which existed for many years and were well-known in the art 3 – involve

dividing a particular frequency bandwidth or range (“B”) by a number of points (“K” points) to

form subchannels each having a fraction of the overall frequency bandwidth (“∆f”):

           In OFDM, the entire available bandwidth B is divided into a number of points K,
           where adjacent points are separated by a frequency band ∆f, that is B=K∆f.

See Exh. 2 at col. 5:26–29; see also id. at col. 7:11–15. According to the patent, to correct for

errors relating to clock signals and the carrier frequency offset (or offset error), prior art

transceivers implementing OFDM required the use of “clock recovery” and “carrier recovery”

devices. See id. at cols. 4:44–55, 5:50–6:29.

           To avoid using clock and carrier recovery, the ’222 patent proposes an allegedly new

“wideband” modulation scheme based on OFDM, referred to as “wideband OFDM” or


3   These well-known prior art OFDM techniques are discussed in numerous references cited during prosecution and
    appearing on the face of the ’222 patent. See, e.g., Exh. 3; Exh. 4.



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“W-OFDM.” See id. at col. 5:20–26 (“The present invention proposes in one embodiment a

wideband modulation scheme . . . . Wideband in this patent document is described in the

context of Wideband-Orthogonal Frequency Domain Modulation (W-OFDM or wideband

OFDM).”). 4 At the core of wideband OFDM is the use of “wideband frequency channels,”

which, like traditional OFDM channels, are subdivided into K points separated by a subchannel

frequency band ∆f. See id. at cols. 5:26–29, 7:11–15. However, unlike traditional OFDM, the

number of K points and subchannel width ∆f in wideband OFDM are selected to be sufficiently

large to minimize certain errors, such as clock error, Doppler shift and other sources of

frequency offset, which would otherwise require the use of clock or carrier recovery:

           In wideband-OFDM, both K and ∆f are selected sufficiently large to achieve a
           high throughput as well as to reduce the effects on the B[it] E[rror] R[ate] of the
           clock error, the Doppler shift and the frequency offset between the LO [Local
           Oscillator] in the transmitter and the one in the receiver.

See id. at col. 5:55–59. To confirm this fundamental point, the applicants distinguished

traditional OFDM on that basis in the specification itself, expressly defining “wideband OFDM”

as OFDM with a K and ∆f large enough to avoid using either clock or carrier recovery:

           In summary, OFDM with a K and ∆f large enough to be able to achieve a
           specific throughput and large enough to be able to avoid using either a clock or
           a carrier recovery device without substantially affecting the BER is referred
           to here as Wideband-OFDM.

See id. at col. 6:30–34. In defining their alleged invention in this manner, the applicants placed

no qualifications on the types of clock or carrier recovery that could be avoided – rather, as

repeated throughout the specification, the focal point of wideband OFDM is to avoid clock or

carrier recovery altogether. See id. at cols. 5:55–59, 6:30–34. To ensure that the claims

incorporated this core aspect of the alleged invention, the apparatus claims require a “wideband”

4   Emphasis added unless otherwise indicated.



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 frequency division multiplexer for multiplexing information onto “wideband” frequency

 channels, and the method claims require that K and ∆f are chosen “so that neither carrier nor

 clock recovery is required . . . .” See id. at Claims 1, 7.

            B.       The ’222 Patent’s Use Of Differential Modulation And A Channel Estimator
                     To Estimate Differentials

            It is well-known in the art that the term “differential” refers to the differences between

 adjacent symbols the receiver receives. Throughout the intrinsic record, the applicants

 repeatedly confirm that well-known definition of “differential”:

            A differential of a sequence of symbols or data points is a measure of the time rate
            of change of a sequence of symbols or data points. For digital signals, which are
            of most interest here, the time interval between symbols may be assumed to be
            fixed so that while the differential is a measure of the rate of change, it may be
            estimated as a difference between symbols or data points.

 See Exh. 5 at col. 4:3–10; see also id. at col. 4:10–13 (“As applied in this disclosure, the

 preferred differential is the difference between adjacent (consecutive) symbols.”).

            Claim 1 includes two phrases that use the term “differential” consistent with its

 well-known meaning. First, the claim requires signals having “differential characteristics,”

 which refers to characteristics of the signal resulting from the use of “differential modulation,” a

 modulation scheme that encodes information in the differences between received data symbols.

 See, e.g., Exh. 2 at Abstract; cols. 2:61–64, 4:26–31, 5:31–35, 7:15–27. Second, to perform

 channel estimation 5 on the signals having “differential characteristics,” claim 1 requires a

 channel estimator that estimates “one or both of an estimated amplitude and an estimated phase




 5   Channel estimation techniques – which were well-known in the prior art long before the ’222 patent – are used to
     estimate the effects of the channel on the transmitted signal. See, e.g., Exh. 2 at col. 9:43–48; Declaration of Dr.
     Acampora in Support of Defendants’ Responsive Claim Construction Brief (“Acampora Decl.”) at ¶30; Exh. 6. at
     66:7–68:12.



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 differential,” which likewise refers to an estimate of the differences between received data

 symbols. See Exh. 2 at Claim 1; col. 11: 14–19, 11:30–34; Exh. 5 at col. 4:3–13, 4:53–61.

            C.       Omission Of Prior Art Transceiver Components

            The ’222 patent distinguishes prior art transceivers on the basis that, unlike the claimed

 transceiver, the prior art requires use of components that the alleged invention omits:

            The system, as compared with prior art systems omits the clock or carrier
            recovery, automatic gain control or passband limiter, power amplifier, an
            equalizer or an interleaver-deinterleaver, and therefore has low complexity.

 See Exh. 2 at col. 2:19–23. By omitting these prior art components, the claimed transceiver had

 a “reduced complexity,” which allowed for a smaller, lighter and more power efficient device.

 See id. at cols. 1:43–49, 2:19–23. To emphasize the importance of this aspect of the alleged

 invention, the applicants recited this distinction throughout the specification: in the Summary of

 the Invention, Detailed Description, and even by contrasting the ’222 patent’s transceiver with

 the prior art in the patent’s figures. Compare Fig. 1 (showing components in prior art systems)

 with Figure 5 (showing the claimed system which omits prior art components). Hence, the

 applicants clearly disavowed coverage of devices incorporating these items to obtain their patent.

 II.        CONSTRUCTION OF THE DISPUTED TERMS IN THE ’222 PATENT 6

            A.       “A Wideband Frequency Division Multiplexer For Multiplexing The
                     Information Onto Wideband Frequency Channels”

            The parties agree that “wideband” should be construed in accordance with the applicants’

 express definition for that term. 7 Defendants’ proposed construction adopts the applicants’

 definition verbatim. By contrast, Wi-LAN proposes three primary modifications to the

 6   Wi-LAN asserts six claims of the ’222 patent (claims 1–3 and 7–9).
 7   Following the 4-3 Joint Claim Construction Statement, Wi-LAN amended its proposed claim construction for “a
     wideband frequency division multiplexer . . .” to more closely match Defendants’ proposed construction, which
     substantially limits the points of dispute between the parties with respect to this phrase. Compare Exh. 7 (Wi-
     LAN’s P.R. 4-3 disclosure) with Br. at 12.



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 applicants’ express definition: (1) replacing “multiplexer for multiplexing information onto”

 with “a device for placing information onto;” (2) substituting “K” with “frequencies;” and (3)

 substituting “∆f” with a “frequency range between frequencies.”

            With respect to the “multiplexer for multiplexing” limitation, Wi-LAN’s proposed

 construction, premised exclusively on expert testimony, conflicts with the well-known meaning

 of the term multiplexer by redefining “multiplexing” as “placing.” See, e.g., Exh. 8 (showing

 numerous dictionary definitions of the terms multiplexer and multiplexing). In fact, Wi-LAN

 concedes that “multiplexing” involves more than merely “placing information onto.” See Br. at

 13 (“‘Frequency division multiplexing’ is a method for transmitting information in parallel . . .

 .”); Acampora Decl. at ¶ 19–21. 8

            B.       “Carrier Recovery” And “Clock Recovery”

                     1.      The Intrinsic Record Supports Defendants’ Construction

            The terms “clock recovery” and “carrier recovery” are used in the ’222 patent to define

 the patent’s alleged wideband OFDM invention: i.e., W-OFDM is OFDM with K and ∆f large

 enough to avoid “clock recovery” and “carrier recovery” devices. This exclusion of “carrier

 recovery” and “clock recovery” is found in both of the independent claims: (1) in claim 1, as

 part of the definition of “wideband frequency division multiplexer;” and (2) in claim 7, in the

 final claim element. See Exh. 2 at Claims 1, 7.




 8   With respect to “K,” Wi-LAN proposes to add additional language defining that term as “frequencies.” Since the
     parties appear to agree that K refers to “points” (see Br. at 14, 18–19), the issue is whether “points” means
     “frequencies,” as Wi-LAN proposes, or whether it is more properly construed as “divisions within a frame
     corresponding to one information symbol each.” (Id. at 17–19). According to the specification, “the entire
     available bandwidth B is divided into a number of points K” which “are grouped into a frame,” and “each point in
     the frame corresponds to one information symbol.” See Exh. 2 at col. 5:26–36. Similarly, with respect to ∆f, the
     ’222 patent expressly defines that term as the frequency band separating each of the “K” points. See id. at col.
     5:26–29.



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         According to the patent, wideband OFDM is able to reduce the effects of errors – such as

 “clock error,” “Doppler shift,” and “frequency offset” – resulting from differences in the clock

 and carrier signals in the transmitter and receiver. See id. at col. 5:55–59 (“In wideband-OFDM,

 both K and ∆f are selected sufficiently large to . . . reduce the effects on the BER of the clock

 error, the Doppler shift and the frequency offset . . . .”). Ordinarily, according to the applicants,

 the receiver must be capable of recovering the clock and carrier signals from the transmitter to

 address these issues. See id. at cols. 2:19–23, 4:44–63. By reducing the effects of these types of

 errors, however, W-OFDM is able to avoid using clock or carrier recovery. See id.

         Contrary to Wi-LAN’s assertions, the ’222 patent does not limit the type of clock or

 carrier recovery that is avoided through use of W-OFDM – instead, both the claims and

 specification repeatedly confirm that W-OFDM is able to avoid clock or carrier recovery without

 placing any restrictions on the type of clock or carrier recovery avoided. See, e.g., id. at claim 7

 (“whereby the width of the frequency band is chosen so that neither carrier nor clock recovery

 is required at the second transceiver”), cols. 2:19–23 (“The system, as compared with prior art

 systems omits the clock or carrier recovery”), 4:55–63 (“With implementation of the present

 invention, several of the blocks shown in FIG. 1 are not required. These are the . . . clock

 recovery 136 and carrier recovery 132 . . . .”), 6:30–33, 12:45–50. Defendants’ proposed

 constructions are consistent with this fundamental aspect of the alleged invention – i.e., avoiding

 clock or carrier recovery – by defining the two terms consistent with all the intrinsic evidence;

 i.e., without restriction.

                 2.       Wi-LAN’s Construction Improperly Attempts To Limit The Claim
                          Terms With Expert Testimony And Conflicts With The Evidence

         Wi-LAN’s proposed constructions place numerous limitations on clock and carrier

 recovery found nowhere in the patent, and, more importantly, are an attempt to improperly


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 restrict those functions to only one of the many ways of performing them that were well-known

 at the time the ’222 patent’s application was filed. See Exh. 2 at col. 4:44–63; Br. at 24. As an

 initial matter, there is no text in the ’222 patent that defines clock and carrier recovery in the

 manner proposed by Wi-LAN. See Exh. 6 at 152:21–153:9. With no support in the

 specification’s text, Wi-LAN relies instead on expert testimony to limit the scope of these claim

 terms, including an interpretation of Figure 1b that is not only absent from the specification, but

 in fact contradicts it. See id. The description of Figure 1b states only that “clock recovery and

 carrier recovery” are omitted without impairing the system, and does not place any further

 limitations on those terMs. See, e.g., Exh. 2 at col. 4:55–63. Because expert testimony may

 never be used to vary the intrinsic record, particularly where the applicants have expressly

 defined their alleged invention without the further limitations proposed by Wi-LAN, Wi-LAN’s

 extrinsic evidence should be discounted entirely. See Phillips, 415 F.3d at 1318; Johnson

 Worldwide Assocs., Inc. v. Zebco Corp., 175 F.3d 985, 992 (Fed. Cir. 1999).

        Moreover, as conceded by both of Wi-LAN’s experts in deposition, Wi-LAN’s proposed

 constructions for clock and carrier recovery are limited to only one of the many ways that were

 known for years prior to the ’222 patent to perform those functions. See Acampora Decl. at ¶22–

 23; Exh. 9 at 188:21–189:12 (identifying multiple ways to perform clock and carrier recovery);

 Exh. 6 at 159:2–160:6 (admitting that many ways of performing clock and carrier recovery

 existed in the prior art). In fact, in the same year the ’222 patent was filed, one of Wi-LAN’s

 experts (Dr. Gitlin) published a book surveying the art entitled Digital Communications

 Principles, which devotes an entire chapter to clock and carrier recovery and illustrates

 numerous well-known techniques to perform those functions without necessarily “synchronizing

 the local oscillator to the carrier frequency of the received signal” or “synchronizing the



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 sampling clock to the timing of the received signal” as proposed by Wi-LAN. See Exh. 11 at Ch.

 6; Exh. 9 at 188:21–189:12 (Dr. Gitlin confirming that carrier recovery could be implemented by

 feeding a signal back into a local oscillator or in many other ways); Exh. 6 at 191:8–194:13 (Dr.

 Haimovich agreeing with Dr. Gitlin’s testimony). Notably, Wi-LAN’s second expert Dr.

 Haimovich relies on an excerpt from this book, but omits the pages showing clock and carrier

 recovery being performed in other ways. Compare Wi-LAN’s Exhibit G with Exhibit 11 at 427–

 28.

        Wi-LAN’s other extrinsic texts are also inconsistent with Wi-LAN’s proposed limitations

 on the scope of clock and carrier recovery, and confirm Defendants’ proposed construction. For

 instance, in Electronic Communications Systems by Wayne Tomasi, carrier recovery is defined

 as “the process of extracting a phase coherent reference carrier from a received carrier

 waveform.” See Exh. 12 at 529. In deposition, Wi-LAN’s expert Dr. Haimovich conceded that

 this is a proper definition of carrier recovery, even though this definition does not require the

 additional step of “synchronizing the local oscillator to the carrier frequency of the received

 signals,” as Wi-LAN proposes. See Exh. 6 at 154:16–155:25. Dr. Haimovich also conceded that

 Tomasi illustrates clock recovery without the additional step of “synchronizing the sampling

 clock to the timing of the received signals.” See id. at 168:14–169:8. Indeed, numerous other

 approaches to clock and carrier recovery existed and were well-known at the time the ’222 patent

 was filed, including well-known techniques that Wi-LAN’s expert admitted he was not aware of.

 See Exh. 10 at 322; Exh. 12 at Fig. 13-37; Exh. 13 at 501; Exh. 26 at 433; Acampora Decl. at

 ¶¶22–23; Exh. 6 at 173:25–174:13 (“I’m not familiar with the specific technique for clock

 recovery called interpolation.”); Exh. 11 at 427–28; Exh. 27 at 9–10, 13–14, 313, 315–16.




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            Wi-LAN’s reason for seeking to include additional limitations on “clock recovery” and

 “carrier recovery” is obvious: Wi-LAN hopes to import these limitations into its construction for

 “wideband” to change the explicit definition of that term provided in the specification. See Exh.

 2 at col. 6:29–34. In marked contrast to the applicants’ alleged W-OFDM invention, Wi-LAN’s

 proposed construction of W-OFDM would only need to avoid certain forms of the clock and

 carrier recovery methods that were well-known in the art at the time the ’222 patent application

 was filed:

      Applicants’ Definition For W-OFDM                            Wi-LAN’s Definition For W-OFDM

 OFDM with a K and a Δf large enough to be              OFDM with a K and a Δf large enough to be able to
 able to achieve a specific throughput and              achieve a specific throughput and large enough to be able
 large enough to be able to avoid using either          to avoid using either synchronizing the sampling clock
 a clock or a carrier recovery device                   to the timing of the receiving signal or synchronizing
 without substantially affecting the BER.               the local oscillator to the carrier frequency of the
                                                        received signal without substantially affecting the BER.

 Compare Exh. 2 at col. 6:29–34 with Br. at 23. Wi-LAN’s proposed approach attempts to

 substantially modify the ’222 patent’s express definition of the critical “wideband” feature of the

 claimed invention by improperly importing unjustified limitations into the constructions of clock

 and carrier recovery. In an attempt to conceal that strategy, Wi-LAN discusses “wideband” and

 “clock and carrier recovery” apart from each other at opposite ends of its brief, as if they were

 unrelated to one another. See Br. at 12–14 and 23–26.

            C.       “Differential” Terms 9

                     1.       The Intrinsic Record Supports Defendants’ Construction




 9   Claim 1 includes two phrases using the term “differential”: first, the preamble requires signals having
     “differential characteristics”; and second, a “channel estimator for estimating one or both of the amplitude and the
     phase differential of the received signals . . . .” is required.



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         Contrary to Wi-LAN’s assertions, the term “differential” in the context of the ’222 patent

 does not refer to “distortion” (a different word which is used throughout the specification of the

 patent). Rather, “differential” refers to differences between symbols that the receiver receives.

 In a co-pending application the applicants filed and referenced during prosecution of the ’222

 patent, 10 the applicants confirmed that “differential” refers to a measure of changes over time in

 a sequence of data symbols:

         A differential of a sequence of symbols or data points is a measure of the time rate
         of change of a sequence of symbols or data points.

 See Exh. 5 at col. 4:3–6. According to the applicants, these changes may be “estimated as a

 difference between symbols”:

         For digital signals, which are of most interest here, the time interval between
         symbols may be assumed to be fixed so that while the differential is a measure
         of the rate of change, it may be estimated as a difference between symbols or
         data points.

 See id. at col. 4:6–10. In other words, “differential” as used in the ’222 patent refers to

 differences in consecutive symbols. See id. at col. 4:10–13 (“As applied in this disclosure, the

 preferred differential is the difference between adjacent (consecutive) symbols.”). 11

         With respect to a signal having “differential characteristics,” the applicants repeatedly

 confirmed that this refers to the use of differential modulation – i.e., a signal in which

 information is encoded in the differences between sequential data symbols. For example, in the


 10In response to an Office Action during prosecution of the ’222 patent, the applicants referenced a co-pending
  application they had filed (which issued as U.S. Patent No. 5,369,670), to describe the claimed channel estimation
  technique. See Exh. 14 at Apr. 19, 1993 Information Disclosure Statement (W0000297) (“The pending application
  [for the ’670 patent] is relevant to the extent that it includes a description of the phase estimation technique
  disclosed in the present application”). The description of the channel estimator found in the ’670 patent is intrinsic
  evidence. See, e.g., Callaway Golf Co. v. Acushnet Co., 576 F.3d 1331, 1346 (Fed. Cir. 2009); Sys. Division, Inc.
  v. Teknek LLC, 59 Fed. Appx. 333, 340 (Fed. Cir. 2003).
 11Adjacent symbols may be referred to in a number of other ways, such as “consecutive symbols,” “sequential
  symbols,” or “received symbols.” See Acampora Decl. ¶27 n.2.



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 paragraphs defining the basic principles underlying wideband OFDM, the specification states

 that differential modulation is used. See, e.g., Exh. 2 at col. 5:31–35 (“The frame carries the

 information intended for transmission under the form of multilevel differential phase shift

 keying (MDPSK) symbols or differential quadrature amplitude modulated (DQAM)

 symbols.”). The centrality of differential modulation to the invention is confirmed throughout

 the remainder of the specification, in every embodiment. See, e.g., id. at cols. 2:63–64 (“the

 information being differentially encoded using phase shift keying.”), 7:15–27 (“[T]he effect of

 phase distortion is reduced by employing differential phase modulation. Hence the modulation

 may be referred to as Differential OFDM (DOFDM).”); Exh. 5 at col. 4:26–31 (“The

 information in the carrier signal may be carried in the phase differential of a number of

 consecutive time instants, or as differential phase shifts of a number of frequency

 components of the transmitted signal.”).

         The use of differential modulation is particularly critical in connection with wideband

 OFDM because, according to the specification, differential modulation reduces the effects of

 phase distortion. See Exh. 2 at col. 7:15–27. As such, carrier recovery is not necessary in

 systems using differential modulation. See Exh. 6 at 162:17–163:5; Exh. 12 (Tomasi) at 530;

 Acampora Decl. at ¶29. This was confirmed by Wi-LAN’s expert, and is emphasized in the

 specification as a reason to use differential modulation over non-differential techniques. See id.;

 Exh. 2 at col. 7:23–25 ( “pilot tones” which are used to perform carrier recovery are not required

 in differential modulation). The ability of differential modulation to avoid carrier recovery is

 closely tied to achieving wideband OFDM, as that term was defined by the applicants. 12


 12Contrary to Wi-LAN’s assertions, the ’222 patent never suggests that non-differential forms of modulation may
  be used in connection with the claimed invention. See Br. at 11–12; Exh. 6 at 229:15–24. Rather, as Wi-LAN’s
  expert confirmed, the passages relied upon by Wi-LAN concern the choice of whether to use amplitude
 (Continued…)


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 Contrary to Wi-LAN’s assertions, differential modulation is not merely a preferred embodiment,

 but is included as an express requirement of the claims and an essential part of the alleged

 invention.

         Claim 1 also requires a channel estimator for estimating an “amplitude or phase

 differential” – i.e., an estimate of the difference in amplitude or phase of the received signals – to

 address the impact of the effects of the channel on a system using differential modulation. See

 Exh. 2 at col. 19:32–36; Exh. 5 at col. 4:3–10. The channel estimator of the ’222 patent first

 obtains an estimated amplitude “differential,” which is then used to obtain an estimated phase

 “differential” to correct for the channel’s effects on the received signal. See Exh. 2 at col. 11:10–

 19; Exh. 5 at col. 2:60–68. Consistent with Defendants’ proposed constructions, the applicants

 confirmed “amplitude differential” is the difference in amplitude between the “current” and

 “preceding” symbols:

         [T]he preceding sample A(n-1) is subtracted from the current one, A(n), and
         the difference thus obtained is divided by the current sample to produce a
         differential of the logarithm of the amplitude samples.

 See Exh. 5 at col. 4:53–61; see also Exh. 2 at col. 11:3–6, 11:30–34. Likewise, the phase

 differential is the difference in the phase between samples, and is estimated by applying a

 “Hilbert transform” to the amplitude differential. See Exh. 2 at col. 11:14–19; Exh. 5 at col.

 4:67–5:23; see also Figs. 7a, 7b (flow charts showing the operation of channel estimator). 13




  modulation or phase modulation, not whether to use differential modulation. See Exh. 2 at col. 7:24–27
  (“Possibly, quadrature amplitude modulation might be used, but amplitude modulation makes it difficult to
  equalize the distorting effects of the channel on the signal.”).
 13During prosecution, the applicants specifically relied on the claimed differential estimation feature to overcome
  prior art. See Exh. 14 (“The QAM encoder of Cases [sic] et al. is not mentioned as carrying out phase
  differential estimation.”).



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        The use of differential modulation and estimating differentials go hand-in-hand –

 differential modulation is used to encode information in the differences between received

 symbols, so any corrections by a channel estimator must necessarily focus on those differences.

 In fact, the reason to provide estimates of differentials is because differential modulation is used.

 Wi-LAN provides no explanation for why the patent would require estimating differentials if

 differential modulation were not used.

                2.      Wi-LAN’s Construction Seeks To Write The “Differential”
                        Requirement Out Of The Claim And Conflicts With The Evidence

        Wi-LAN improperly removes the word “differential” from the claims and substitutes an

 entirely different word, which is also used in the patent – “distortion”. However, contrary to

 Wi-LAN’s assertions, neither the ’222 patent nor the applicants’ ’670 patent ever refers to a

 “differential” as “distortion.” See Br. at 7. None of Wi-LAN’s citations to the specification

 equate a “differential” with “distortion.” See id. at 7–12. To the contrary, estimates of

 “differentials” are used to correct for distortion over the channel:

        To reduce the effect of amplitude distortion the modulation is preferably phase
        modulation, while the effect of phase distortion is reduced by employing
        differential phase modulation. Hence the modulation may be referred to as
        Differential OFDM (DOFDM).

 See Exh. 2 at col. 7:17–23; see also Exh. 5 at col. 2:66–68 (“the received signal may then be

 modified using the estimated phase differential to produce a corrected signal.”); Abstract (“The

 resulting phase differential, after correction for sign ambiguity may be used to demodulate the

 received signal.”). Accordingly, the “phase differential” of the received signal is supplied to the

 “pre-distorter” to correct for “phase distortion over the channel”:

        An estimate of the phase differential of the received signal is taken in the channel
        estimator 530 . . . . The estimated phase differential is also supplied to a
        pre-distorter 534 in the transmitter[, and] the signal being transmitted is
        predistorted with the estimated phase differential so that the received signal . . .
        will be corrected for any phase distortion over the channel.

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 See Exh. 2 at col. 9:43–61. Wi-LAN’s expert admitted to the difference between “differentials”

 and “distortion” in his deposition. See Exh. 6 at 86:23–87:20 (the channel estimator of the ’222

 patent “estimate[s] the effect of the channel on the difference between the values of the phase of

 the information symbols.”), 106:13–19 (“So the pre distorter…receives the phase difference

 values due to the channel…and it removes the distortion.”). Wi-LAN provides no explanation

 for why, under its approach, the applicants would have used two different terms in the same

 sentence to mean the same thing. Unlike Defendants’ proposed construction, which is consistent

 with the use of the term “differential” throughout the patent, Wi-LAN’s proposed approach

 requires the Court to accept that “differential” is used in multiple different ways to mean several

 different things in the same patent. See id. at 98:1–6, 145:16–146:24.

        Additionally, Wi-LAN’s construction ignores the word “characteristics” in the claim 1,

 because Wi-LAN construes “amplitude and phase differential characteristics” to mean the same

 thing as “amplitude and phase differential.” This overlooks the importance of differential

 modulation to the patented invention, and the well-known characteristics of signals using such

 modulation techniques; i.e., information encoded in the differences between symbols.

        Similarly, Wi-LAN’s proposed construction deprives the word “differential” in the

 phrase “to produce . . . an estimated . . . differential” of meaning. As Wi-LAN’s expert Dr.

 Haimovich admitted, channel estimation in general involves separating the effect of channel

 distortion from the data. See Exh. 6 at 83:9–13. In the ’222 patent, channel estimation is

 performed by estimating the differential – i.e., the difference in adjacent symbols caused by the

 channel. See id. at 86:23–87:20, 83:24–84:5, 81:10–82:19. The claims reflect this by

 specifically requiring that the channel estimation function is performed by estimating such




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 differentials. By substituting the word “differential” with “distortion,” Wi-LAN eliminates this

 important claim limitation as well. 14

         As with its other constructions, Wi-LAN relies heavily on expert testimony to suggest

 that Defendants are “confusing” the concepts of differential modulation, channel distortion, and

 channel estimation. See Br. at 10–11, 17. In making this argument, Wi-LAN concedes that

 Defendants’ definition of “differential” is correct at least with respect to differential modulation.

 Although Wi-LAN argues that “differential” has a different meaning in connection with channel

 estimation, that position is directly at odds with the applicants’ definition of differential in the

 ’670 patent to describe the ’222 patent’s channel estimation technique. See Exh. 5 at col. 4:3–10.

 As the applicants confirmed time and again, the ’222 patent uses “differential” and “distortion”

 to mean different things. Wi-LAN’s proposed construction improperly conflates those different

 terms, thereby writing out express limitations of the claim. CAE Screenplates Inc. v. Heinrich

 Fiedler GmbH & Co., 224 F.3d 1308, 1317 (Fed. Cir. 2000) (“. . . the use of these different terms

 in the claims connotes different meanings.”).

         D.       “Channel Estimator” Terms

         As discussed in Part I.B. above, the claimed channel estimator outputs an estimated

 difference in amplitude and phase between the received data symbols. Wi-LAN’s construction

 fails to account for the critical aspects of this element – i.e., that the channel estimator produce

 an estimate of an “amplitude and phase differential.” Moreover, contrary to Wi-LAN’s


 14Wi-LAN’s construction also conflicts with the plain claim language, which regards differentials “of the received
  signals,” confirming that the focus of “differential” as used in the claim is on the differences between the received
  signals, not on distortion to a signal that was transmitted. Exh. 2 at col. 11:33–34. The long passages in Wi-
  LAN’s brief based on expert testimony do not justify Wi-LAN’s attempt to re-define “differential.” See Br. at 7–
  8; Haimovich Decl. at ¶¶17–19. In fact, although Wi-LAN cites these passages for the proposition that
  “differential” means “distortion,” none of the cited passages even mentions the term differential when discussing
  channel distortion. See Br. at 7–8.



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 assertions, a channel estimator may “compute” an estimated differential, but is not a device for

 “computing distortions.” According to the claims and specification, the channel estimator

 “estimates” the amplitude or phase differential. See Exh. 2 at cols. 9:43–48 (“An estimate of the

 phase differential of the received signal is taken in the channel estimator 530 . . . .”), 19:32–36.

 Wi-LAN’s proposed construction impermissibly changes the claim language without support.

        E.      “Transceiver”

        Contrary to Wi-LAN’s assertions, the claimed “transceiver” is not simply to be defined as

 a “two-way radio” – rather, the applicants disclaimed use of a number of components found in

 prior art transceivers that, according to the applicants, were not necessary when employing

 W-OFDM. The applicants’ disclaimer of prior art transceiver components is emphasized and

 repeated throughout the specification. Beginning with the “Summary of the Invention,” the

 applicants expressly distinguished the “present invention” from the prior art on the basis that it

 omits a number of components found in prior art transceivers:

        Advantages of the present invention include: . . . [t]he system, as compared with
        prior art systems omits the clock or carrier recovery, automatic gain control
        or passband limiter, power amplifier, an equalizer or an
        interleaver-deinterleaver, and therefore has low complexity.

 See Exh. 2 at col. 2:19–23.

        To underscore the importance of this aspect of the alleged invention, the “Detailed

 Description” begins by confirming that the alleged invention obtains the “omission” of these

 iteMs. See id. at col. 4:61–63 (“It will now be explained how the proposed system obtains the

 omission of these blocks without impairing the quality and capacity of the system.”). The

 specification then proceeds to confirm, for each of the prior art items, that it is omitted from the

 alleged invention, and why that is possible. See id. at cols. 12:45–13:64. To further illustrate

 this important requirement, the ’222 patent contrasts a prior art transceiver in Figure 1 with the


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 claimed transceiver in Figure 5 to demonstrate that the components at issue are omitted. See id.

 at cols. 12:45–50 (comparing Fig. 1 with Fig. 5), 4:44–61.

         According to the Federal Circuit, where, as here, the specification makes clear that the

 alleged invention does not include particular items, those items are outside the scope of the

 claiMs. See, e.g., SciMed Life Sys., Inc. v. Adv Cardiovascular Sys., Inc., 242 F.3d 1337, 1341

 (Fed. Cir. 2001) (“Where the specification makes clear that the invention does not include a

 particular feature, that feature is deemed to be outside the reach of the claims of the patent, even

 though the language of the claims, read without reference to the specification, might be

 considered broad enough to encompass the feature in question.”); Astrazeneca AB v. Mutual

 Pharm. Co., 384 F.3d 1333, 1340 (Fed. Cir. 2004). Further, a patentee cannot recapture prior art

 alternatives that are disclaimed in the patent specification. See, e.g., L.B. Plastics, Inc. v.

 Amerimax Home Prods., Inc., 499 F.3d 1303, 1309 (Fed. Cir. 2007).

         Contrary to Wi-LAN’s assertions, these repeated statements in the specification are an

 express disavowal of claim scope, rather than optional advantages. See SciMed, 242 F.3d at

 1341; Astrazeneca, 384 F.3d 1340; L.B. Plastics, 499 F.3d at 1309. The specification goes to

 lengths to describe how the proposed “system” obtains the omission of these components. See,

 e.g., Exh. 2 at cols. 4:61–63, 12:45–13:64. Furthermore, the applicants’ description of a system

 that omits particular elements as “the present invention” indicates an intent to limit their

 invention accordingly. See Edwards Lifesciences LLC v. Cook Inc., 582 F.3d 1322, 1330 (Fed.

 Cir. 2009); SciMed, 242 F.3d at 1343. Moreover, the applicants used this aspect of the system to

 distinguish the prior art. See, e.g., id. at cols. 2:19–23, 4:44–61. In such circumstances,

 applicants may not later take back the distinctions they used to obtain the patent. See L.B.

 Plastics, 499 F.3d at 1309. Wi-LAN’s authority on this issue confirms these same principles, but



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 reaches a different conclusion on facts readily distinguishable from those presented here. See

 Playtex Prods, Inc. v. Proctor & Gamble Co., 400 F.3d 901, 908 (Fed. Cir. 2005) (finding a

 claim construction improper that deviated from the “unambiguous meaning” in the intrinsic

 record and instead relied on expert testimony.).

         Contrary to Wi-LAN’s assertions, the claims do not require the use of any of the omitted

 components. See Br. at 6. Although claim 3 requires “a power controller,” the specification

 distinguishes that component from the omitted automatic gain control. According to the

 specification, automatic gain control may be omitted because of the presence of the power

 controller. See, e.g., Exh. 2 at col. 13:29–44 (“Neither an AGC nor a Passband hard-limiter are

 required since the level of the received power may be controlled constantly . . . the degree of

 power control may be determined using the power controller 525.”). The specification never

 equates automatic gain control (which is omitted) with the power controller (which is not

 omitted). Wi-LAN’s only support for its contentions is the incorrect testimony of its expert. See

 Haimovich Decl. at ¶51; Br. at 5–6. 15

         F.       “The Second Transceiver Has A Maximum Expected Clock Error χT, Where
                  T Is The Duration Of One Time Domain Sample, The Information Is
                  Multiplexed Over A Number M Of Levels, And K1 Selected Such That
                  2πχ/K1<π/M”

         The final element of claim 7 includes a number of mathematical terms and phrases which

 require construction. Wi-LAN does not provide constructions for most of these terms, and




 15Similarly, contrary to Wi-LAN’s assertions, the disclaimed power amplifier and interleaver-deinterleaver are not
  included in any claims or embodiments of the claimed system. See Br. at 6. Wi-LAN relies on excerpts from the
  specification for its argument, omitting the full passages from the specification which unequivocally confirm that
  the power amplifier and interleaver-deinterleaver are not required. See Exh. 2 at col. 12:51–62 (“From the BS
  point of view, the interleaver-deinterleaver is not required”), col. 12:67–13:1 (“It is important to avoid using a PA
  since DOFDM generates a time domain signal with a non constant envelope”).



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 proceeds as if they are not limitations on claim 7. By contrast, Defendants offer constructions

 based on express definitions for the terms in the specification.

         The parties appear to agree that the phrase “a number of M levels” in the context of claim

 7 refers at least to the use of a phase modulation technique. 16 See Br. at 21–22. The parties

 disagree on Defendants’ contentions that (1) by using the term “2πχ/K1,” claim 7 further requires

 the use of differential modulation; (2) “a number of M levels” refers to “multilevel” modulation;

 and (3) T was expressly defined in the specification to be “equal to 1/(K1Δf).”

         With respect the first issue, the specification expressly defines the claim term “2πχ/K1”

 as a “phase difference between adjacent symbols.” See Exh. 2 at col. 6:2–4. As explained

 above, this is a well-known reference to “phase differential” used in differential modulation. See

 Part I.B., above. The applicants confirmed the centrality of differential modulation to the alleged

 invention throughout the intrinsic record. See Part II.C.1. Although Wi-LAN contends that

 Defendants “import limitations . . . from an embodiment” (Br. at 21), Wi-LAN provides no

 opposing construction for the “2πχ/K1” term nor provides any explanation of that term in its

 brief, as if it is not a limitation on claim 7. Paradoxically, Wi-LAN concedes that claim 7

 requires use of phase modulation, but ignores the remaining limitations of claim 7 requiring

 differential modulation. See Br. at 21–22. Because the applicants expressly defined “2πχ/K1” in

 the specification to place a requirement on the claims that would only be relevant in a system

 using differential modulation, Defendants’ unopposed construction is correct. See CytoLogix v.

 Ventana Med. Sys., 424 F.3d 1168, 1173 (Fed. Cir. 2005).




 16The parties also agree on the definition of the term “χ,” which is defined in the specification as “a real value that
  when multiplied by the duration of one time domain sample provides the maximum expected clock error.” See
  Exh. 7.



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        With respect to the aspect of Defendants’ proposed construction requiring “multilevel”

 modulation, the ’222 patent states the “a number of M levels” refers to “multilevel” modulation

 (e.g., “Multilevel Differential Phase Shift Keying” or “MDPSK”). See, e.g., Exh. 2 at cols.

 5:31–35, 6:34–46. With respect to the term “T,” the applicants expressly state that “T is equal to

 1/(K1Δf).” See id. at col. 6:2–4. As with “2πχ/K1,” Wi-LAN does not propose a construction for

 this term.

        G.      “Points” And “Tail Slots”

        The patent expressly defines “points” as divisions within a frame corresponding to one

 information symbol each. In describing wideband OFDM, the specification states that the

 “available bandwidth B is divided into a number of points K,” that “K points are grouped into a

 frame of K1 points and two tail slots of K2 points each,” and that “each point in the frame

 corresponds to one information symbol.” See Exh. 2 at col. 5:25–36. Figure 2 confirms that

 each point is equal to one symbol. See id. Fig. 2 (“1 pt . . . = 1 D8PSK symb.”). The parties

 agree that “tail slots” act as guard bands. See Br. at 19; Exh. 1; Exh. 2 at col. 5:36–37.

 Moreover, the specification states that both K1 points and tail slots of K2 points are grouped into

 a frame. See Exh. 2 at col. 5:28–31.

        H.      “The Method Of Claim 7 In Which K2 Is Selected So That The Out Of Band
                Signal Is Less Than A Given Level”

        The phrase “less than a given level” in claim 9 fails to particularly point out the scope of

 the claim as required under § 112(2), and is thus indefinite. See 35 U.S.C. §112(2); PureChoice,

 Inc. v. Honeywell Int’l, 333 Fed Appx. 544, 548 (Fed. Cir. 2009). Because the “level” in the

 claim is unspecified, no meaningful bound is placed on the patent claim. See Acampora Decl. at

 ¶40. The specification does not provide any guidance as to the scope of the claim, stating only




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 that the “out-of-band signal is below a certain power level.” See Exh. 2 at col. 5:36–38.

 Wi-LAN confirms the lack of meaning by failing to provide a proposed construction.

 III.    OVERVIEW OF THE ’802 PATENT

         A.       Background To The Alleged “Multi-Code DSSS” Invention

         The alleged invention of the ’802 patent is called “Multicode Direct Sequence Spread

 Spectrum” (“MC-DSSS”) and generally concerns the use of multiple codes to transmit

 information bits. See Exh. 15 at Title, col. 2:6–10. According to the ’802 patent, Multicode

 Direct Sequence Spread Spectrum is based on a well-known prior art communications scheme

 called Direct Sequence Spread Spectrum (“DSSS”). See Exh. 15 at col. 2:6–10; Declaration of

 Dr. Proakis in Support of Defendants’ Responsive Claim Construction Brief (“Proakis Decl.”) at

 ¶20. To describe the prior art DSSS technique, the ’802 patent cites Chapter 8 of Digital

 Communications by John G. Proakis (“Proakis”), a book widely regarded as an authority on

 DSSS and other communications schemes. 17 See id. at ¶ 15. As explained in the ’802 patent, in

 DSSS, information bits are spread over DSSS codes to produce modulated data symbols. See

 Exh. 15 at col. 1:25–27 (“DSSS is a communication scheme in which information bits are spread

 over code bits (generally called chips).”); Exh. 10 at 802–03; Proakis Decl. at ¶8.

         As the ’802 patent confirms, a well-known and fundamental characteristic of DSSS is

 that DSSS codes are pseudo-random noise sequences. 18 In the opening paragraph of the



 17Chapter 8 of Proakis is listed as prior art on the face of the ’802 patent, and therefore it constitutes intrinsic
  evidence for purpose of claim construction. V-Formation, Inc. v. Benetton Group SPA, 401 F.3d 1307, 1311 (Fed.
  Cir. 2005); Kumar v. Ovonic Battery Co., 351 F.3d 1364, 1368 (Fed. Cir. 2003); Collins, Inc. v. Northern Telecom
  Ltd., 216 F.3d 1042, 1045 (Fed. Cir. 2000).
 18As the applicants stated during prosecution, “random” or “randomized” signals or codes in the art are actually
  “pseudo-random” or “pseudo-randomized” – i.e., near approximations of perfectly random signals. See Exh. 16 at
  Feb. 12, 1996 Response to Office Action at 1–2 (W0002259–60). Thus, according to the applicants, the use of the
  term “random” in the ‘802 patent refers to “pseudo-random.” See id.



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 Background section, the ’802 patent states that in DSSS, noise-like codes called pseudo-random

 noise sequences are used to spread information bits:

        Commonly used spread spectrum techniques are Direct Sequence Spread
        Spectrum (DSSS) and Code Division Multiple Access (CDMA) as explained in
        Chapter 8 of “Digital Communication” by J. G. Proakis, Second Edition,
        1991, McGraw Hill, DSSS is a communication scheme in which information
        bits are spread over code bits (generally called chips). It is customary to use
        noise-like codes called pseudo random noise (PN) sequences.

 See Exh. 15 at col. 1:21–28. Proakis, referenced as intrinsic evidence, confirms that

 pseudo-random noise sequences are among the “basic elements” of spread spectrum systems:

        The block diagram shown in Fig. 8.1.1 illustrates the basic elements of a spread
        spectrum digital communications system. . . . [W]e have two identical
        pseudo-random pattern generators . . . The generators generate a
        pseudo-random or pseudo-noise (PN) binary-valued sequence which is
        impressed on the transmitted signal at the modulator and removed from the
        received signal at the demodulator.

 See Exh. 10 at 802; see also id. at 800 (“A second important element employed in the design

 of spread spectrum signals is pseudo-randomness, which makes the signals appear similar to

 random noise.”). Engineers in the art uniformly confirm this basic understanding of DSSS, as

 does an article by one of the applicants:

        All spread spectrum techniques use a repeating pseudo-random sequence to
        spread the spectrum of the data signal to be transmitted. One of the most
        popular spread spectrum methods is called ‘direct sequence’. In this
        technique, each baud b(t) of the data signal is multiplied by the
        pseudo-random code sequence p(t) . . . .

 See Exh. 17 at 364. In fact, according to the applicant’s article, DSSS’s use of pseudo-random

 codes is what causes the fundamental “spreading” feature of DSSS systems:

        [The pseudo-random code sequence] is a periodic sequence which is divided into
        n chips (or bits), and the chip time c of the sequence is such that n x c is equal to
        the baud time T of the data signal. This procedure, in effect, changes the baud
        pulse shape to that of the pseudo-random code sequence, thereby widening the
        spectrum of the data signal.



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 See id. at 364–65. Consistent with this background, the ’802 patent recognizes various

 advantages inherent in DSSS as a result of using pseudo-random codes. See Exh. 15 at col.

 1:31–47; Exh. 10 at 800–01; Proakis Decl. at ¶16.

        According to the ’802 patent, prior art DSSS systems were limited in the throughput they

 could provide. See Exh. 15 at col. 1:48–49. In particular, in any given frequency bandwidth

 “B”, use of a DSSS code of length “N” (i.e., having “N” chips) to spread an information bit will

 reduce the effective bandwidth by a multiple equal to the number of chips, or B/N:

        An obvious limitation of DSSS systems is the limited throughput they can offer.
        In any given bandwidth, B, a code of length N will reduce the effective bandwidth
        to B/N.

 See id. at col. 1:48–50.

        To address this limitation of DSSS, the ’802 patent presents a form of DSSS, called

 “Multi-Code Direct Sequence Spread Spectrum” or “MC-DSSS.” See id. at col. 2:6–10. Like

 prior art DSSS systems, Multi-Code DSSS spreads information bits over DSSS codes having N

 chips each. See id. However, unlike traditional DSSS, which assigns one code to each user,

 Multi-Code DSSS assigns up to N codes to an individual transceiver, defining “N” as the number

 of chips per code:

        In this patent, we present Multi-Code Direct Sequence Spread Spectrum
        (MC-DSSS) which is a modulation scheme that assigns up to N codes to an
        individual transceiver where N is the number of chips per DSSS code.

 See id. at col. 2:6–10. By assigning multiple codes to each individual transceiver, the ’802 patent

 claims to overcome the reduction in effective throughput associated with traditional DSSS. See

 id. at col. 1:66–2:5 (“To enhance the throughput, we allow a single link (i.e., a single

 transceiver) to use more than one code at the same time.”); col. 2:19–34; Br. at 28; Gitlin

 Decl. at ¶17.

        B.       Summary Of The ’802 Patent’s Claimed Apparatus And Method

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            The ’802 patent includes three independent apparatus claims (claims 1, 17 and 33), and

 one independent method claim (claim 23), all of which are asserted along with 20 dependent

 claims. See Exh. 7. All three independent apparatus claims include three elements necessary to

 achieve MC-DSSS: (1) a converter for converting a first stream of data symbols into plural sets

 of N data symbols each; (2) a “first computing means” using DSSS codes to produce modulated

 data symbols corresponding to an “invertible randomized spreading” of the first stream of data

 symbols; and (3) a means to combine the modulated data symbols. 19 Figure 1 of the ’802 patent

 includes items corresponding to each of these elements:




            As shown in Figure 1, a serial stream of data symbols Sym(k) are input into a

 serial-to-parallel converter (item 10) for converting the serial stream of data symbols into sets of

 N data symbols. See Exh. 15 at cols. 2:36–40, 4:1–2. Each of the N data symbols (from symbol

 1 to symbol N) are then input in parallel into the first computing means (item 12) for spreading

 over a different DSSS code (codes c(1) to c(N)). See id. at cols. 2:36–40, 4:2–5. Because the


 19   The single method claim (claim 23) contains similar elements.



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 DSSS codes are pseudo-random codes, the computing means produces modulated data symbols

 corresponding to an “invertible randomized spreading” of the first stream of data symbols. See

 id. Additionally, because multiple DSSS codes are used in an individual transceiver, the patent

 at times refers to the DSSS codes used in its MC-DSSS scheme as “MC codes.” See, e.g., id. at

 Abstract. Lastly, the modulated data symbols are combined by a combiner (item 14) for

 transmission. See id. at col. 4:5–7. 20

         To reflect the importance of using pseudo-random noise sequences in MC-DSSS, every

 claim requires the use of DSSS codes, either by expressly reciting DSSS codes in the claim

 language of both apparatus and method claims, or by defining DSSS codes as part of the

 corresponding structure for the “computing means” means-plus-function elements in the

 apparatus claiMs. See id. at Claims 1, 17, 23, 33; Parts IV.A.–B., below.

         C.       The Reissue Application And The Applicants’ Change To “Up To M” Codes
                  Having “M” Chips

         The ’802 patent is a reissue of U.S. Patent No. 5,555,268 (the “’268 patent”). During

 reissue, the applicants amended the claim language to change the number of chips per code from

 “N” to “M”. According to the applicants’ reissue declarations, in the claims and specification of

 the original ’268 patent, “N” referred to three items: (1) the number of data symbols in each set

 of data symbols; (2) the number of chips per DSSS code; and (3) the maximum number of codes:

         In the claims and detailed description of the original patent, N is the number of
         data symbols in each data set. In the detailed description and in the summary of
         the original patent, N is also used in reference to the number of chips per
         direct sequence spread spectrum code and the maximum number of codes.




 20Figure 2 of the ’802 patent, which is a schematic for a receiver for implementing MC-DSSS, has similar elements,
  including a “second computing means” (item 24) for operating on a “second stream of data symbols” to produce
  an estimate of the second stream of data symbols. See Exh. 15 at col. 4:22–28.



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 See Exh. 18 (Sept. 1998 Reissue Decl.) at ¶6; see also Exh. 15 at cols. 2:6–9, 4:1–12. Consistent

 with this arrangement, the claims of the original ’268 patent required a fixed numerical

 relationship between the sets of data symbols, the maximum number of DSSS codes, and the

 number of chips per code: they are all “N”. See, e.g., Exh. 19 at Claim 17; Exh. 18 (Sept. 1998

 Reissue Decl.) at ¶6. Likewise, every embodiment in the specification explicitly requires sets of

 N data symbols and N DSSS codes having N chips per code. See, e.g., Exh. 15 at Figs. 1–5,

 cols. 2:6–15, 2:36–67, 4:1–46.

          In requesting reissue, however, the applicants asserted that the claimed “N data

 symbols/codes/chips-per-code” arrangement was in error, arguing that the number of codes and

 chips per code could be a different number – referred to as “M” – than the number of data

 symbols. See Exh. 18 (Sept. 1998 Reissue Decl.) at ¶6 (“Although M equals N in the detailed

 description . . . this is not necessary”). Accordingly, the applicants revised certain of the

 means-plus-function elements, deleting references to “N” chips per code, and substituting a

 broader limitation permitting a different number of chips per code than the N data symbols in

 each set – i.e., “M” chips per code. See, e.g., Exh. 15 at Claims 2, 4, 12, 17–18, 21, 23–24, 30.

 Although the applicants altered the functional language of these means-plus-function elements,

 the applicants left the corresponding structures in the specification untouched, which the

 applicants admitted only show codes having N chips. See Exh. 18 (Sept. 1998 Reissue Decl.) at

 ¶6. As discussed below, this leaves the means-plus-function elements having “M” chips per

 code unsupported by corresponding structure, thus rendering them invalid under 35 U.S.C.

 § 112.




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 IV.     CONSTRUCTION OF THE DISPUTED TERMS IN THE ’802 PATENT 21

         A.        “Direct Sequence Spread Spectrum Codes” (DSSS Codes)

                  1.       Defendants’ Construction Is Supported By The Evidence

         As is known in the art, and as the ’802 patent and the Proakis chapter referenced to

 describe DSSS confirm, DSSS codes are pseudo-random noise sequences over which

 information is spread. In the opening paragraph of the Background section, the ’802 patent

 states that in DSSS, noise-like codes called pseudo-random noise sequences are used to spread

 information bits. See Exh. 15 at col. 1:21–28. Chapter 8 of the Proakis reference – which is part

 of the intrinsic record – confirms that pseudo-random noise sequences are among the “basic

 elements” of spread spectrum systems. See Exh. 10 at 802. According to Proakis, the

 “pseudo-randomness” of DSSS signals is an “important element” of DSSS and is “intimately

 related” to the purpose of such signals:

         A second important element employed in the design of spread spectrum
         signals is pseudo-randomness, which makes the signals appear similar to
         random noise and difficult to demodulate by receivers other than the intended
         ones. This element is intimately related with the application or purpose of such
         signals.

 See id. at 800. This fundamental aspect of DSSS is confirmed throughout the Proakis reference,

 in its discussion of how DSSS codes are generated, id. at 831–36, the properties of DSSS codes,

 id. at 832, and the potential applications of DSSS, id. at 817–23. Consistent with this

 background, the ’802 patent recognizes various advantages inherent in DSSS as a result of using

 pseudo-random codes. See Exh. 15 at col. 1:31–45 (DSSS allows a signal to be “buried in

 noise,” transmitted at “low power,” and recovered over interference); Exh. 10 at 817–23


 21In Wi-LAN, Inc. v. Acer, Inc. et al. and Wi-LAN, Inc. v. Westell Tech., Inc. et al., Wi-LAN asserts 22 claims
  (claims 1, 4–5, 10, 12–14, 17, 20–25, 29–31, 33–34, and 36–38). Additionally, in Wi-LAN, Inc. v. Research in
  Motion Corp. et al., Wi-LAN asserts these same 22 claims as well as claims 2 and 18.



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 (confirming same); Exh. 15 at col. 1:25–31 (linking the autocorrelation and cross correlation

 properties of PN sequences to the advantages of DSSS); Exh. 10 at 832–33 (same); see also

 Proakis Decl. at ¶16.

        The literature concerning DSSS at the time of the application is uniformly in accord with

 Defendants’ proposed construction. For instance, one of the applicants of the ’802 patent – listed

 inventor Michel Fattouche – confirmed that “[a]ll spread spectrum techniques use a repeating

 pseudo-random sequence to spread the spectrum of the data signal to be transmitted.” See Exh.

 17 at 364–65. This statement is particularly important because Mr. Fattouche made it in 1997,

 after the ’268 patent precursor to the ’802 patent issued, and thus necessarily included the ’268

 patent in Mr. Fattouche’s description of “all” spread spectrum techniques. Like Mr. Fattouche,

 engineers in the art at the time uniformly understood DSSS to refer to the use of pseudo-random

 codes. See Exh. 20 (numerous references at the time of the filing of the ’268 patent showing

 DSSS codes as PN codes). The publications of Wi-LAN’s experts confirm that DSSS codes are

 PN sequences. See Exh. 21 (Richard D. Gitlin et al., IS-95 Enhancements for Multimedia

 Services, Bell Labs Technical Journal (Autumn 1996)) at 63 (showing a “direct-sequence

 spreader” using “randomized spreading codes”); Exh. 22 (Li Zhao, Alexander M. Haimovich, &

 Haim Grebel, Performance of Ultra-Wideband Communications in the Presence of Interference,

 IEEE Int’l Conf. on Comm. (2001)) at 2948 (“With traditional DS-SS, the wide bandwidth is

 achieved by modulating the data message with a pseudo-noise (PN) sequence.”).

        The claim language itself supports Defendants’ proposed construction by requiring that

 DSSS codes be pseudo-random noise sequences. Each of the independent apparatus claims

 includes a means-plus-function element requiring a computing means to produce modulated data

 symbols corresponding to an “invertible randomized spreading.” See Exh. 15 at Claims 1, 17,



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 and 33. The parties agree that the computing means in Figure 1 is corresponding structure to this

 function, and that according to the specification, Figure 1 requires the use DSSS codes. See Br.

 at 32, 37–38. 22 However, DSSS codes are the only structures in the computing means in Figure

 1 capable of performing the claimed function of producing an “invertible randomized spreading”

 of the first stream of data symbols. See Exh. 15 at Fig. 1, col. 4:1–12; Exh. 9 at 73:10–15. If

 Wi-LAN’s construction is adopted, and DSSS codes were not pseudo-random noise sequences,

 there would be nothing in the computing means of Figure 1 to perform the function of an

 “invertible randomized spreading” as claimed. See Proakis Decl. at ¶¶17–18; Exh. 9 at 87:17–

 88:7. Defendants’ proposed construction must be correct or else the agreed-to corresponding

 structures for the “first computing means” will not support their claimed functions, rendering

 these claims invalid.

         Further, during prosecution, the applicants confirmed the importance of using

 randomized codes, by distinguishing prior art having non-random Walsh codes from the alleged

 invention. See Exh. 16 (Aug. 28, 1995 Amendment):

         The key here is the randomization of the transformation. It is known in the art to
         spread symbols and spread spectrum applications, including by using Walsh
         codes as shown in Albrieux et al. (’952). However, depending upon the data, the
         effect might be to de-spread the symbols, generating an unwanted pulse.

 See id. at 15–16 (W0002231–32). Wi-LAN attempts to co-opt this important portion of the

 prosecution history by improperly excerpting the sentence concerning Walsh codes, without




 22The parties agree that the passage from the specification at col. 4:7–12 is corresponding structure for the “first
  computing means” elements found in the independent claims. See Br. at 32. According to that passage, the
  claimed computing means includes N DSSS codes: The computing means shown in FIG. 1 includes a source 16
  of N direct sequence spread spectrum code symbols and a modulator 18 to modulate each ith data symbol from
  each set of N data symbols with the I code symbol from the N code symbol to generate N modulated data symbols,
  and thereby spread each I data symbol over a separate code symbol. See Exh. 15 at col. 4:7–12.



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 revealing the entire passage that distinguishes Walsh codes from the codes that provide

 “randomization.” See Br. at 43; Gitlin Decl. at ¶25.

                2.       Wi-LAN’s Construction Conflicts With The Evidence

        Contrary to Wi-LAN’s assertions, DSSS codes are not simply any codes over which

 information bits are spread. Wi-LAN’s proposed construction gives no meaning to the DSSS

 aspect of DSSS codes, and ignores the substantial intrinsic evidence in the specification and

 Proakis reference reflecting the well-known meaning of DSSS codes in the art. Moreover,

 Wi-LAN provides no explanation as to how Figure 1’s computing means could produce an

 “invertible randomized spreading” if the DSSS codes in Figure 1 were not pseudo-random noise

 sequences. See Br. at 32–34, 43–44. In fact, Wi-LAN’s own proposed construction for

 performing the function of an “invertible randomized spreading” explicitly requires “applying

 complex constants chosen randomly,” which, in Figure 1, could only be achieved if the DSSS

 codes are pseudo-random noise sequences. See Br. at 36. Wi-LAN’s expert admitted that an

 “essential element” of the codes in Figure 1 is that they are randomized:

        Q. In figure 1, if the codes in item 12, the first computing means, if those codes
        are not randomized, could item 12 perform the function of producing an invertible
        randomized spreading?

        A. Well, an essential element is randomization. So you need to have the
        randomization.

        Q. The codes would have to be randomized, right?

        A. Yes.

 Exh. 9 at 87:17–88:7.

        Wi-LAN’s contention that DSSS codes includes non-randomized “Walsh codes” ignores

 the “invertible randomized spreading” requirement and finds no support in the intrinsic record.

 To the contrary, during prosecution, the applicants confirmed that Walsh codes despread a



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 signal, and do not perform the function of an “invertible randomized spreading.” See Exh. 16 at

 15–16. Notwithstanding his conclusory assertions that Walsh codes can constitute DSSS codes,

 Wi-LAN’s expert admitted to this in deposition, and conceded that the only way spreading is

 achieved is through the use of pseudo-random noise codes. See Exh. 9 at 26:22–28:17; 87:17–

 88:7.

         Contrary to Wi-LAN’s assertions, the ’802 patent’s use of the term “MC codes” does not

 change the well-known definition of DSSS codes, but rather refers to the use of multiple DSSS

 codes. See, e.g., Exh. 15 at col. 2:3–5; Abstract (“In this patent, we present MultiCode Direct

 Sequence Spread Spectrum (MC-DSSS) which is a modulation scheme that assigns up to N

 DSSS codes to an individual user where N is the number of chips per DSSS code.”). Wi-LAN’s

 apparent contention that “MC codes” need not be DSSS codes conflicts with both the claim

 language requiring DSSS codes (see, e.g., claim 23) and the parties’ agreed-to corresponding

 structure for the computing means terms, which expressly requires use of DSSS codes. See, e.g.,

 Exh. 7. Consistent with the use of DSSS codes in the claims and specification to define the

 alleged “Multicode DSSS” invention, the applicants’ statements that “in this patent, we introduce

 new codes, which we refer to as ‘MC’ codes” refers to the use of multiple DSSS codes. See Exh.

 15 at col. 2:15–19. To the extent Wi-LAN contends the meaning of “DSSS codes” is different

 than the well-known meaning for that term, Wi-LAN provides no intrinsic evidence of a

 specialized meaning. More importantly, Wi-LAN’s proposed construction does not reflect any

 specialized meaning, but rather deprives the term of any meaning, defining “DSSS codes” as

 nothing more than codes.

         Similarly, the ’802 patent’s discussion of various types of transforms, such as “Fourier

 transforms” or “Walsh codes or transforms,” does not alter the requirement that DSSS codes be



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 pseudo-random noise sequences. See, e.g., id. at cols. 4:66–5:12. Wi-LAN claims that “[t]he

 patent refers to Fourier Transforms and Walsh codes or transforms as direct sequence spread

 spectrum codes.” See Br. at 43 (citing to claims 26–28 and 4:66–5:6, as well as the ’222 patent

 at cols.1:2–5, 2:47–50). But those citations never state that Fourier Transforms and Walsh

 Transforms are DSSS codes. To the contrary, Fourier and Walsh Transforms may be used in

 connection with Figure 3, but these transforms are not the DSSS codes themselves. See Exh. 15

 at cols. 4:66–5:12.

        B.      “First Computing Means”

        The parties agree that the “first computing means” elements of claims 1, 17, and 33

 should be construed in accordance with 35 U.S.C. § 112 ¶6, and also agree on the construction of

 the claimed functions, with the exception of the term “invertible randomized spreading” in the

 claimed functions, which the parties have agreed to address separately. See Part IV.D. The

 parties further agree that the corresponding structure for the “first computing means” includes

 columns 2:6–10, 2:36–40, 2:58–62, 4:2–12, 4:35–44. See Exh. 1. The parties’ disputes are

 focused on two issues: (1) Wi-LAN’s contention that columns 4:66–5:12 constitutes additional

 structure corresponding to the claimed function; and (2) Defendants’ contention that independent

 claim 33 and dependent claims 4, 6, and 8 – which require “M” chips per code – are unsupported

 by the corresponding structure the parties identified and are therefore invalid.

                1.      Defendants’ Constructions Are Supported By The Evidence

                        (a)     Corresponding Structure For Claims 1 And 17




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         The parties agree that item 12 in Figures 1 and 4 and the portions of the specification

 describing those elements are corresponding structure for the claimed functions. 23 See Br. at 32.

 The parties’ agreed-to corresponding structures include several important features. First, the

 parties agree that the corresponding structure requires a computing means (item 12) that operates

 on “N” data symbols. See Exh. 17 at col. 4:2–3. Second, the parties agree that the

 corresponding structure requires the use of DSSS codes. See, e.g., id. at col. 4:7–9, 4:38–39.

 Lastly, the parties agree that the corresponding structure includes codes having N chips. See id.

 at col. 2:6–9. Wi-LAN contends that a further passage at columns 4:66–5:12 also constitutes

 corresponding structure, which Defendants address below.

                           (b)      Independent Claim 33 Is Invalid For Failure To Comply With
                                    35 U.S.C. §112 ¶6

         During reissue, applicants amended the functional language of the means-plus-function

 elements, deleting references to “N” codes having “N” chips per code, and substituting a broader

 limitation permitting a different number of codes and chips per code than the N data symbols in

 each set – claiming “up to M codes” having “M” chips per code. See Exh. 15 at Claim 33.

 However, although the applicants altered the functional language of these elements, the

 applicants left the specification untouched, including the structures corresponding to the

 claimed functions, which the applicants admitted only show codes having N chips.

         As discussed above, the parties’ agreed-to structures corresponding to the “first

 computing means” require a fixed numerical relationship between the number of data symbols,

 the maximum number of codes, and the number of chips per code – i.e., they are all “N.” Every



 23The parties agree that figures 1 and 4 provide alternate structures for the claimed transmitter, and each include a
  computing means (item 12). See Br. at 32–33. Defendant LG Electronics Mobilecomm U.S.A., Inc. (“LGEMU”)
  cites additional structure: Fig. 3 and cols. 2:54–57; 4:29–39; 4:66–5:7.



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 embodiment in the patent is explicitly restricted to this fixed numerical relationship, including

 both the claimed transmitter (in Figs. 1 and 4 and accompanying text) and receiver (in Figs. 2

 and 5 and accompanying text). See, e.g., Exh. 15 at Fig. 1 and col. 2:36–40, 24 Fig. 2 and col.

 2:41–45, Fig. 4 and col. 2:58–62, Fig. 5 and cols. 2:63–67, 2:6–10. Similarly, in Figure 3 –

 which is the code generator for DSSS codes used by the computing means in Figures 1–2 and 4–

 5 – DSSS codes (labeled c(i)) having N chips (chips labeled 1 to N) are generated using N-point

 transforms. See id. at col. 2:54–57. Wi-LAN’s expert Dr. Gitlin confirmed during his deposition

 that the specification only shows structures having sets of N data symbols and N codes with N

 chips per code. See Exh. 9 at 119:18–120:2; 217:16–21; 219:12–23.

         Indeed, during prosecution of the reissue application, the applicants themselves confirmed

 that, in the original ’268 patent’s claims and specification, the number of data symbols,

 maximum number of codes, and the number of chips per code chips are all “N”:

         In the claims and detailed description of the original patent, N is the number of
         data symbols in each data set. In the detailed description and in the summary of
         the original patent, N is also used in reference to the number of chips per
         direct sequence spread spectrum code and the maximum number of code.

 See Exh. 18 (Sept. 1998 Reissue Decl.) at ¶6.

         Despite only providing for “N” data symbols and “N” chips per code in the specification,

 the applicants broadened the claimed functions through reissue to a computing means with “M”

 chips per code. See, e.g., Exh. 15 at Claim 33. As explained, the specification is devoid of any

 structure corresponding to such a function. Hence, the claims fail to meet the requirements of

 24The description of Figure 1 in the specification contains a typographical error concerning the number of chips per
  code. See Exh. 15 at col. 2:36-40 (“where c(i)=[c(1,i) c(2,i)] is the ith code”). When the original application for
  the '268 patent was filed the descriptions for the figures were provided on the same sheets as the figures
  themselves. According to the descriptions in the original application, Figure 1 explicitly requires N chips per
  code. See Exh. 16 (Original Application at Figure 1) (“where c(i)=[c(1,i) c(2,i) . . . c(N,i)] is the ith code”). A
  clerical error may have occurred when the descriptions corresponding to the drawings in the original application
  were moved from the sheets with the figures to the specification in column 2.



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 § 112 ¶6 and are invalid. See Default Proof Credit Card Sys., Inc. v. Home Depot U.S.A., Inc.,

 412 F.3d 1291, 1299 (Fed. Cir. 2005); B. Braun Med., Inc. v. Abbott Labs., 124 F.3d 1419, 1424

 (Fed. Cir. 1997); Valmont Indus., Inc. v. Reinke Mfg. Co., 983 F.2d 1039, 1042 (Fed. Cir. 1993).

 In fact, the only way Claim 33 could be valid is if “M” in that claim were construed to be equal

 to “N.” However, the Court need not revise the claims to make up for the applicants’ failure to

 meet §112’s requirements. See, e.g., Rhine v. Casio, Inc., 183 F.3d 1342, 1345 (Fed. Cir. 1999).

                           (c)      Dependent Claims 2, 4 And 12 Are Invalid For Failure To
                                    Comply With 35 U.S.C. §112 ¶6

         Dependent claims 2, 4, and 12 – which all depend from independent claim 1 – provide

 additional limitations for the first computing means, including “a source of . . . .direct sequence

 spread spectrum codes,” a “transformer for operating,” and a “correlator for correlating.” 25

 During reissue, the applicants amended each of these elements to require “M” chips per code in

 the computing means. See Exh. 15 at Claims 2, 4, 12. As discussed above, these dependent

 claim elements are invalid because the specification does not provide structure corresponding to

 the “M” chips per code function.

         Although Wi-LAN contends these dependent claim limitations are not subject to §112 ¶6,

 that does not change the result. See Br. at 39–42. The parties agree that the structure

 corresponding to claim 1’s “first computing means” function is limited to a set of “N” data

 symbols, and codes having “N” chips per code. See id. at 32–33. Dependent claims 2, 4, and 12

 are broader than claim 1, by doing away with the fixed numerical relationship between the

 number of data symbols and chips per code. See Exh. 15 at Claim 2, 4, 12. To the extent

 dependent claims 2, 4, and 12 provide sufficient additional structure such that they are not

 25Wi-LAN discusses each of these terms in separate sections of its brief. See Br. at 39–42. Because, as discussed
  below, these terms each violate § 112 for the same reason, Defendants address them collectively in this section.



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 subject to §112 ¶6, they would still be invalid because they would violate a fundamental rule of

 claim drafting – i.e., that dependent claims may never be broader than the independent claims

 from which they depend. See 35 U.S.C. § 112, ¶4; see also Pfizer, Inc. v. Ranbaxy Labs. Ltd.,

 457 F.3d 1284, 1292 (Fed. Cir. 2006); AK Steel Corp. v. Sollac and Ugine, 344 F.3d 1234, 1242

 (Fed. Cir. 2003).

                  2.        Wi-LAN’s Proposed Constructions Conflict With The Evidence

         As discussed above, the parties agree on the claimed function for the “first computing

 means,” and nearly all of the corresponding structure with three exceptions. First, Wi-LAN’s

 addition of column 4:66–5:12 as corresponding structure to the computing means of Figure 4 is

 incorrect. In that passage, the ’802 patent provides a list of transforms which may be used by the

 code generator in Figure 3, not a description of the computing means in Figure 4. See Exh. 15 at

 cols. 4:66–5:12. Although the specification states that the transmitters in Figures 1 and 4 use the

 codes generated by the code generator in Figure 3, the specification clearly links only the

 computing means 12 in Figures 1 and 4 to the claimed function, not the code generator in Figure

 3. See Exh. 2 at col. 4:2–5. 26

         Second, contrary to Wi-LAN’s assertions, the corresponding structure does not include “a

 computing device programmed to perform the algorithms disclosed by the foregoing.” See Br. at

 33–34. Wi-LAN provides no support in the specification for this additional statement, and relies

 exclusively on expert testimony. See id. The knowledge of those skilled in the art may not be

 26To the extent Figure 3 is found to be linked to the computing means function, the corresponding structure should
  not only include the passage at columns 4:66–5:12, but all of Figure 3 as well as the text describing Figure 3 at
  column 4:29–34. Wi-LAN’s selective addition of only the text at columns 4:66–5:12 is improper and is
  inconsistent with its position that the description of Figure 3 is corresponding structure. Default Proof, 412 F.3d at
  1298-99. Defendant LGEMU takes this approach, proposing Figure 3 and the accompanying text as additional
  corresponding structure. See Exh. 7. Contrary to Wi-LAN’s assertions, defendant LGEMU does not agree with
  Wi-LAN’s corresponding structure, as Wi-LAN omits Figure 3 and most of the accompanying text, and only
  selectively includes one passage relating to Figure 3.



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 used as a substitute for providing structure in the specification. Blackboard, Inc. v.

 Desire2Learn, Inc., 574 F.3d 1371,1385 (Fed. Cir. 2009).

        Lastly, Wi-LAN’s addition of “equivalents thereof” merely recites the statutory language

 of §112 ¶6 and does not itself constitute corresponding structure. See 35 U.S.C. §112 ¶6. This

 aspect of the means-plus-function claim elements may be accounted for in jury instructions and

 is not a necessary part of the corresponding structure. See, e.g., Positive Techs Inc. v. Toshiba

 America Consumer Prods. LLC, No. 2:07-CV-67, 2008 WL 2627687, at *6 (E.D. Tex. July 1,

 2008) (Ward, J.); Biax Corp. v. Intel Corp., No. 2:05-CV-184, 2007 WL 677132, at *4 (E.D.

 Tex. Mar. 1, 2007) (Ward, J.) (same).

        C.      “Spreading”

                1.      Defendants’ Construction Is Supported By The Evidence

        The term “spreading” in the ’802 patent refers to distributing information bits over code

 bits, which increases the bandwidth of the signal and results in a reduction of effective

 bandwidth. This is a well-known technique underlying the alleged MC-DSSS invention. The

 opening paragraph of the specification confirms that “spreading” refers to distributing

 information bits over codes bits called “chips.” See Exh. 15 at col. 1:21–28. The patent further

 confirms that “spreading” reduces the effective bandwidth of the system. See id. at col. 1:49–51.

 Defendants’ construction of “distributing information bits over code chips, thereby reducing the

 effective bandwidth” captures both of these well-known aspects of “spreading.” The Proakis

 reference cited in the ’802 patent (see id. at col. 1:21–28) and the prior art listed on the ’802

 patent confirm these basic characteristics of spreading. See, e.g., Exh. 24 at 768. Even the

 extrinsic publications Wi-LAN relies upon confirm Defendants’ construction. See, e.g.,

 Wi-LAN’s Br. Exh. P at 1057 (confirming that spreading increases the bandwidth of the

 information content); Wi-LAN’s Br. Exh. C at 1265–66 (same).

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          Contrary to Wi-LAN’s assertions, there is absolutely no evidence in the specification that

 the applicants intended to provide “spreading” with a special meaning differing from the

 ordinary meaning the applicants adopted. See Multiform Desiccants, Inc. v. Medzam, Ltd., 133

 F.3d 1473, 1477 (Fed. Cir. 1998) (“[S]pecial meaning[s] . . . must be sufficiently clear in the

 specification that any departure from common usage would be so understood by a person of

 experience in the field of the invention.”); In re Paulsen, 30 F.3d 1475, 1480 (Fed. Cir. 1994).

 Instead, the specification expressly defines spreading in terms of its well-known meaning to

 those of ordinary skill. See Exh. 15 at col. 1:49–51.

          Defendants’ proposed construction does not, as Wi-LAN claims, exclude the preferred

 embodiment where the number of codes is equal to the number of chips. Br. at 35–36. The

 preferred embodiment purports to overcome certain limitations of conventional DSSS by using

 multiple DSSS codes for spreading, not by providing a special, new way to perform spreading.

 See, e.g., Exh. 15 at col. 2:6–10, Figs. 1, 4. Wi-LAN’s contention that “bandwidth need not be

 reduced” by the ’802 patent’s system focuses on the overall effect of the invention, not the

 individual spreading which occurs to each data symbol. The claims confirm that “spreading”

 refers to spreading an individual data symbol over an individual code, just as in the prior art.

 See, e.g., id. at Claim 18 (“a modulator to modulate each data symbol from each set of N data

 symbols . . . and thereby spread each data symbol over a separate direct sequence spread

 spectrum code.”). Lastly, the specification does not provide an embodiment “using a Fourier

 transform for spreading.” See Br. at 36. Rather, according to the specification, a Fourier

 transform is only an example of a transform in Figure 3. See id. at cols. 4:66–5:7. But Figure 3

 does not perform the claimed spreading. Rather, spreading is performed by the first computing

 means.



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                2.      Wi-LAN’s Construction Conflicts With The Evidence

        Neither the intrinsic record nor Wi-LAN’s extrinsic evidence support Wi-LAN’s

 suggestion that the applicants adopted a specialized construction of “spreading” that is (to use the

 words of Wi-LAN’s expert) “inconsistent” with the meaning to one of ordinary skill in the art –

 namely, that spreading involves modulating data symbols by “codes of larger bandwidth.”

 Wi-LAN offers no supporting intrinsic evidence in its brief. Br. at 34–35. In fact, Wi-LAN

 concedes that its construction conflicts with the meaning of “spreading” to one of ordinary skill

 in the art. See Br. at 35; Gitlin Decl. at ¶22 (“The patent further extends the concept of spreading

 . . . even though this is inconsistent with the ordinary meaning of spreading to one of skill in

 the art.”); see also Exh. 15 at col. 1:21–28, 1:49–51. Moreover, none of Wi-LAN’s extrinsic

 publications states that “spreading” involves the use of “codes of larger bandwidth.” To the

 contrary, each of those references confirms that spreading increases the frequency bandwidth of

 the signal to be transmitted, without increasing the amount of information that can be contained

 in that signal, i.e., without increasing the effective bandwidth. The result of this fundamental

 property of spreading is that it reduces the effective bandwidth, relative to the actual frequency

 bandwidth used to transmit the signal. See, e.g., Wi-LAN’s Br. Exh. P at 1057; Wi-LAN’s Br.

 Exh. C at 1265–66. The codes do not have a bandwidth, and Wi-LAN provides no evidence

 supporting that notion.

        D.      “Invertible Randomized Spreading”

                1.      Defendants’ Proposed Construction Is Supported By The Evidence

        An “invertible randomized spreading” refers to spreading using a randomized transform.

 According to the claim language, the phrase “invertible randomized spreading” requires that the

 spreading function be both “invertible” and “randomized.” Claim 25 explicitly confirms this by

 requiring that the “spreading is an invertible randomized spreading.” See Exh. 15 at Claim 25.

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 Likewise, claims 1, 17 and 33 require that the “first computing means” perform the function of

 producing an “invertible randomized spreading.”

        Consistent with this claim language, Figure 1’s computing means 12 uses DSSS codes

 (which are pseudo-random noise codes) to spread data symbols, thereby performing the claimed

 function of producing an “invertible randomized spreading.” See id. at col. 2:36–40, Fig. 1.

 Likewise, Figure 4’s computing means 12 “includes a transformer 20” to perform the claimed

 “invertible randomized spreading” function. See id. at col. 4:40–43, Fig. 4.

        During prosecution, the applicants confirmed that the claimed “invertible randomized

 spreading” is produced by spreading using a randomized transform. According to the applicants,

 although non-randomized spreading was known in the art, “[t]he key” to generating an invertible

 randomized spreading was the “randomization of the transformation.” See Exh. 16 at Feb. 12,

 1996 Response to Office Action at 1–2 (equating an “invertible randomized spreading” with a

 “randomized,” “randomizer,” or “randomizing” “spreading or transform”).

        Contrary to Wi-LAN’s assertions, Defendants’ proposed construction does not suggest

 that randomizing, in the abstract, is the same as spreading. Br. at 36–37. Rather, Defendants

 provide independent meanings to those terms – something Wi-LAN’s construction fails to do.

 Compare “spreading” construction (“distributing information bits over code chips thereby

 reducing the effective bandwidth”) with “invertible randomized spreading” (“spreading using an

 invertible randomized transform”). However, when it comes to an “invertible randomized

 spreading,” the claim language explicitly requires that the spreading be randomized. As

 Wi-LAN’s expert conceded, all three functions – spreading, randomization, and invertibility –

 are performed as part of the claimed spreading:

        Well, the codes themselves are characterized as invertible randomized spreading
        codes. So the codes include more than one function. They include a spreading


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        function, they include a randomization, or randomize function, and in concert
        together they are invertible.

 See Exh. 9 at 76:25–77:6. According to Wi-LAN’s expert, randomization is an “essential

 aspect” in producing the claimed spreading codes. See id. at 77:11–14 (“randomization is an

 essential aspect -- the word ‘randomized’ is in the phrase, so that’s part of the ingredient in

 producing these codes.”).

                2.      Wi-LAN’s Proposed Construction Conflicts With The Evidence

        In contrast to the claim language requiring that the spreading function be “invertible” and

 “randomized,” Wi-LAN’s proposed construction incorrectly separates “spreading” from the

 “invertible” and “randomization” parts of the function. See Br. at 36 (“spreading and applying

 complex constants chosen randomly”). As such, Wi-LAN’s proposed function is in conflict with

 the express claim language and cannot be sustained. This is also inconsistent with the agreed-to

 structures in the specification corresponding to the “invertible randomized spreading” function,

 which use codes to perform both spreading and randomization. See Exh. 15 at Fig. 1 (item 12

 computing means), Fig. 4 (item 12 computing means); Exh. 9 at 77:2–6. Although Wi-LAN

 relies on the code-generator in Figure 3 and the randomizer transform in Figure 8 to argue that

 “randomizing is not spreading” (see Br. at 36–37), neither of those figures is identified by

 Wi-LAN as corresponding structure for performing the “invertible randomized spreading”

 function. See Br. at 32. Rather, the parties agree that the structures in those figures are not

 responsible for the “invertible randomized spreading” function. See id. As such, Figures 3 and 8

 may not be relied on to contradict the express claim language requiring that the spreading itself

 be “invertible” and “randomized.”

        E.      “Modulator To Modulate”




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          The “modulator to modulate” term in claim 2 is indefinite and renders claim 2 invalid.

 Upon reissue, the applicants modified the “modulator to modulate” to require that the claimed

 computing means of claim 1 “spread each set of data symbols over a separate code.” See Exh.

 15 at Claim 2. However, the structure corresponding to the computing means function in claim 1

 requires that each data symbol in the set of N data symbols be spread over a separate code. See

 id. at Fig. 1. By amending claim 2 to require spreading each set of data symbols over a separate

 code, the applicants broadened claim 2 beyond the scope of independent claim 1, rendering it

 invalid. 35 U.S.C. § 112, ¶4; see also Pfizer, Inc. v. Ranbaxy Labs. Ltd., 457 F.3d 1284, 1292

 (Fed. Cir. 2006). The claim is also invalid because there is no structure corresponding to the

 “modulator for modulating” function. See, e.g., B. Braun Med., Inc. v. Abbot Labs., 124 F.3d

 1419, 1424 (Fed. Cir. 1997). Moreover, by spreading all of the data symbols in a set over the

 same code, the “multi-code” purpose of the invention would not be realized. See Acampora

 Decl. at ¶52.

          Acknowledging this problem, Wi-LAN’s proposed construction rewrites claim 2,

 changing the express claim language from spreading “each set of data symbols” to “each data

 symbol from each set of data symbols.” However, Wi-LAN’s construction conflicts with the

 claim language and is improper. In such circumstances, the Court should not rewrite the claims,

 even if to preserve their validity. Nazomi Commc’n, Inc. v. Arm Holdings, PLC, 403 F.3d 1364,

 1368 (Fed. Cir. 2005); Rhine v. Casio, Inc., 183 F.3d 1342, 1345 (Fed. Cir. 1999).

          F.       “Second Computing Means” 27


 27The parties agree that the “second computing means” elements of claims 10, 17, and 34 should be construed in
  accordance with 35 U.S.C. § 112 ¶6, and also agree on the construction of the claimed functions. See Exh. 1; Exh.
  7. The parties further agree that the corresponding structure for the “second computing means” includes Figure 2
  (item 24) and columns 2:41–54 and 4:21–28, but disagree on additional items included in Wi-LAN’s proposed
  construction (the elements of Fig. 5 between the serial-to-parallel and parallel-to-serial converters, columns 2:63–
 (Continued…)


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         Figures 2 and 5 illustrate alternate embodiments of the patented receiver. See Exh. 15 at

 col. 2:41–45, 2:63–67. According to the specification, the only structure linked to the “second

 computing means” function is item 24 in Figure 2. See Exh. 15 at col. 4:13–16, 4:44–45. The

 additional passages concerning Figure 2, at col. 4:13–20 and 4:44–46, generally describe the

 receiver, and are neither clearly linked nor necessary to performing the claimed function at issue.

 See Cardiac Pacemakers, Inc. v. St. Jude Med., Inc., 296 F.3d 1196, 1119 (Fed. Cir. 2002). With

 respect to Figure 5, nothing in the specification clearly links any particular part of Figure 5 to the

 second computing means function. Moreover, although during prosecution the applicants added

 material to the specification to provide linkage for certain aspects of the figures, the applicants

 provided nothing with respect to Figure 5. See Exh. 15 at col. 4:44–63. Wi-LAN’s proposal that

 the second computing means in Figure 5 extends between the serial-to-parallel and

 parallel-to-serial converters is a guess. See id.; Asyst Techs., Inc. v. Empak, Inc., 268 F.3d 1364,

 1370–71 (Fed. Cir. 2001) (finding element in patent was not corresponding structure because it

 was “not referred to at any point in the description” of the claim functions).

         Lastly, as discussed in Part IV.B.2. above, Wi-LAN’s additional language concerning “a

 computing device programmed to perform the algorithms disclosed in the foregoing; and

 equivalents thereof” is improper because it is unsupported by the specification and unnecessary.

         G.       “Means For Receiving” 28



  67, 4:13–20, 4:44–46, a computing device programmed to perform the algorithms disclosed in the foregoing, and
  equivalents thereof). See Br. at 45.
 28The parties agree that the “means for receiving” elements of claims 10, 17, and 34 should be construed in
  accordance with 35 U.S.C. § 112 ¶6, and also agree on the construction of the claimed functions. See Exh. 1; Exh.
  7. The parties further agree that the corresponding structure for the “means for receiving ” includes Figure 2 (item
  22) and column 4:18–21, but disagree on additional items in Wi-LAN’s proposed construction (the corresponding
  element in Figure 5 (which includes the serial-to-parallel converter), Figure 20, columns 2:41–43, 2:63–64, 3:58–
  60, and 6:20–35). See Br. at 44.



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        The only structure clearly linked to the claimed “means for receiving” function is item 22

 in Figure 2’s receiver. See Exh. 15 at col. 4:18–21. The additional passages concerning Figure

 2, at cols. 2:41–43, 2:63–64, 3:58–60, and 6:20–35, either describe the receiver as a whole, or

 unrelated functions of the receiver, and are neither clearly linked nor necessary to performing the

 claimed function at issue. See Cardiac Pacemakers, 296 F.3d at 1119; B. Braun Med., 124 F.3d

 at 1424; Northrop Grumman Corp. v. Intel Corp., 325 F.3d 1346, 1352 (Fed. Cir. 2003). With

 respect to Figure 5, nothing in the specification clearly links any particular part of Figure 5 to the

 second computing means function. See id. Similarly, Figure 20 illustrates unrelated functions of

 the receiver, and is neither necessary nor clearly linked to the claimed function at issue.

 Wi-LAN attempts to rely on expert testimony to fill in for the lack of a clear link in the

 specification, which, as discussed above in Part IV.B.2., is not a proper substitute for clearly

 linked corresponding structure. See Omega Eng’g, Inc. v. Raytek Corp., 334 F.3d 1314, 1331–32

 (Fed. Cir. 2003); see also Med. Instrumentation and Diagnostics Corp., v. Elektra AB, 344 F.3d

 1205, 1212 (Fed. Cir. 2003). In fact, Wi-LAN’s expert confirmed that the structure identified by

 Wi-LAN is merely the received data signal and not the structure for receiving the data. See Exh.

 9 at 214–15. As discussed above, Wi-LAN’s additional language concerning “equivalents

 thereof” is unnecessary.

        H.      “Converter For Converting”

        With respect to the “converter for converting” elements in claims 1, 17 and 33, Wi-LAN

 contends that these elements should not be construed in accordance with § 112 ¶6. Wi-LAN

 further contends that, should these elements be construed in accordance with § 112 ¶6, the

 corresponding structure should include, in addition to the structures Defendants propose, the

 additional passages at cols. 2:36–40 and 2:58–62.



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        Contrary to Wi-LAN’s assertions, the “converter for converting” elements do not recite

 structure for performing the claimed functions, and are thus subject to § 112 ¶6. See Watts v. XL

 Sys., Inc., 232 F.3d 877, 880 (Fed. Cir. 2001) (“[T]he presumption that § 112, paragraph 6 d[oes]

 not apply c[an] be rebutted by showing that the claim element recite[s] a function without

 reciting sufficient structure for performing that function.”); see also Mas-Hamilton Group v.

 LaGard, Inc., 156 F.3d 1206, 1213–15 (Fed. Cir. 1998). As an initial matter, Wi-LAN concedes

 that the “converter for converting” element does not include any structure for performing the

 function of “converting the first stream of data symbols into plural sets of N data symbols each,”

 other than by using the single term “converter.” See Br. at 30–31. Contrary to Wi-LAN’s

 assertions, the term “converter” does not have a generally understood structure. Rather, the term

 “converter” is used in multiple different ways, and does not refer to a particular structure, within

 the relevant art. See Exh. 25 (“A device capable of converting impulses from one mode to

 another, such as analog to digital, or parallel to serial, or from one code to another”). In fact, the

 applicants used the term “converter” in different ways in the ’222 and ’802 patents, neither of

 which is the same as Wi-LAN’s alleged “generally understood meaning” for that term. Compare

 Exh. 15 at col. 4:1–2 (describing serial-to-parallel converter) to Exh. 2 at col. 12:37–39

 (describing analog-to-digital converter). Wi-LAN’s selection of one of the many possible

 definitions for converter cannot remove the “converter for converting” element from the scope of

 § 112 ¶6. See Mas-Hamilton Group, 156 F.3d at 1213–15 (applying § 112, ¶6 to claim

 limitations described in terms of their function and not their mechanical structure); see also

 Wireless Access, Inc. v. Research in Motion, Ltd., No. C-01-20600, 2001 WL 1218744, *1 (N.D.

 Cal. Sep. 12, 2001) (construing “converter that converts” and “converter to convert” as

 means-plus-function elements under § 112(6)).



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         Wi-LAN’s additional passages proposed as corresponding structure describe the

 transmitter as a whole, and are neither clearly linked nor necessary to performing the claimed

 “converter” function at issue. See, e.g., Cardiac Pacemakers, 296 F.3d at 1119. Additionally, as

 discussed in Part IV.B.2. above, Wi-LAN’s additional language concerning “a computing device

 programmed to perform the algorithms disclosed in the foregoing; and equivalents thereof” is

 improper because it is unsupported by the specification and unnecessary.

         I.       “Transceiver”

         Consistent with Defendants’ construction, the ’802 patent explicitly defines a transceiver

 as a communications “link.” See Exh. 15 at col. 2:3–5 (“we allow a single link (i.e., a single

 transceiver) to use more than one code”); see also Edwards Lifesciences LLC v. Cook, Inc., 582

 F.3d 1322, 1334 (Fed. Cir. 2009) (“the specification’s use of ‘i.e.’ signals an intent to define the

 word to which it refers”). By contrast, Wi-LAN’s proposed construction (“two-way radio unit”)

 is not supported by the specification or the understanding of one of ordinary skill in the art. 29

 See, e.g., Exh. 28.

         J.       “Means To Combine Modulated Data Symbols For Transmission” 30

         The only structure clearly linked to the claimed “means to combine” function is item 14

 in Figures 1 and 4. See Exh. 15 at col. 4:5–7. The additional passages at column 2:36–40 and

 2:58–62 are not corresponding structure for “means to combine” because they concern the

 transmitters in Figure 1 and 4 as a whole, and are neither clearly linked nor necessary to

 29Defendants do not agree with Wi-LAN's attempt to construe “transceiver” as a “two way radio unit,” or Wi-
  LAN's apparent understanding of the scope of the term “two way radio unit.” The '802 patent does not refer to a
  transceiver as a “two way radio unit.”
 30The parties agree that the “means to combine modulated data symbols for transmission” elements of claims 1, 4,
  17, and 33 should be construed in accordance with 35 U.S.C. § 112 ¶6, and also agree on the construction of the
  claimed functions. See Exh. 1; Exh. 7. The parties further agree that the corresponding structure includes Figure 1
  (item 14), Figure 4 (item 14), and column 4:5–7, but disagree on items in Wi-LAN’s proposed construction
  (Figure 4 (item 20) and columns 2:36–40, 2:58–62, 4:39–44, and 4:66–5:12. See Br. at 38.



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 performing the claimed function at issue. See, e.g., Cardiac Pacemakers, 296 F.3d at 1119.

 With respect to element 20 in Figure 4, the specification expressly states that “transformer 20 [is]

 for operating on each set of N data symbols to generate N modulated data symbols as output.”

 See Exh. 15 at col. 4:41–42. Nothing in the specification links the transformer 20 to the

 particular “means to combine” function at issue. See Asyst Techs., 268 F.3d at 1370–71.

 Likewise, the passage at cols. 4:66–5:12 describes examples of transforms that may be used in

 connection with Figure 3’s code generator, not the transmitter’s combining function. See Exh.

 15 at cols. 4:66–5:12. Wi-LAN again relies heavily on expert testimony to fill in for the lack of

 a clear link in the specification. Wi-LAN’s addition concerning “equivalents thereof” is

 unnecessary.

        K.      “Means To Combine Output From The Second Computing Means”

        The parties agree that the “means to combine output from the second computing means”

 element of claim 17 should be construed in accordance with 35 U.S.C. § 112 ¶6, and also agree

 on the construction of the claimed functions. See Exh. 1; Exh. 7. The parties further agree that

 the corresponding structure for this “means to combine” element includes the parallel-to-serial

 converter in Figure 2, but disagree on additional items in Wi-LAN’s proposed construction

 (parallel to serial converter in Figure 5 and columns 2:41–54 and 2:63–67). See Br. at 47. As

 with other means-plus-function terms discussed above, Wi-LAN’s additional items are neither

 clearly linked nor necessary to performing the claimed “combining” function at issue. See, e.g.,

 Cardiac Pacemakers, 296 F.3d at 1119. Wi-LAN’s additional language concerning “equivalents

 thereof” is also unnecessary.

        L.      “Combining The Modulated Data Symbols For Transmission”

        This dispute focuses on the final three steps of claim 23 – i.e., (1) “operating on . . . data

 symbols to produce modulated data symbols;” (2) “combining the modulated data symbols”

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 produced in the preceding operating step; and lastly (3) “transmitting the modulated data

 symbols.” See Exh. 15 at Claim 23. By claiming the method in this fashion, claim 23 requires

 that the claimed “combining” be performed by a parallel-to-serial converter.

          The ’802 patent shows two types of combiners for combining modulating data symbols

 from the computing means – adders (shown in Figure 1) and parallel-to-serial converters (shown

 in Figure 4). See, e.g., id. at Figs. 1, 4. The primary difference between the two types is that the

 “adder” adds the parallel series symbols together into new symbols, while the “parallel-to-serial

 converter” takes the parallel series of symbols and outputs them individually as a serial stream.

 See id. at Figs. 1, 4. Wi-LAN’s expert confirms this distinction in the figures. See, e.g., Gitlin

 Decl. at ¶24 (“In Fig. 1 the spread output signal d(k) is produced as the combination of the

 symbols spread by the separate codes and is accomplished by the element 14 (the adder or

 summer)”); id. (“a person of ordinary skill in the art would not interpret combiner 14 in Fig. 1 as

 a parallel-to-serial converter”).

          The combining step in claim 23 is performed by a parallel-to-serial combiner because the

 language of that claim explicitly requires that the same modulated data symbols exist both before

 and after the combining step. An adder – which Wi-LAN’s expert admits would create new

 combined data symbols – cannot be used. See Gitlin Decl. at ¶24. In contrast to claim 23’s

 combiner, the applicants required an “adder”-type combiner in other claims. See, e.g., claims 14

 and 15 (requiring post-combining operations to be performed on “combined modulated data

 symbols” rather than on “the modulated data symbols” as in claim 23). 31

 Dated:     February 17, 2010                         RESPECTFULLY SUBMITTED,

 31Contrary to Wi-LAN’s assertions, the means-plus-function “combiner” limitations of claims 1, 17, and 33 do not
  conflict with Defendants’ proposed construction. See Br. at 48. In those claims, unlike claim 23, there are no
  additional elements after the combining step which would cause the claim to require a particular form of combiner.



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                               CERTIFICATE OF SERVICE


        The undersigned hereby certifies that counsel of record who are deemed to have

 consented to electronic service are being served with a copy of this DEFENDANTS’

 RESPONSIVE CLAIM CONSTRUCTION BRIEF via email on February 17, 2010.


                                                    /s/Adam R. Alper
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